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EXHIBIT B
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UNITED STATES DISTRICT COURT

EASTERN DISTRICT OF LOUISIANA

IN RE: OIL SPILL BY THE OIL RIG
"DEEPWATER HORIZON" IN THE
GULF OF MEXICO, ON APRIL 20,
2010

This document relates to: 11-275

MDL NO. 2179
SECTION “J” (1)

JUDGE BARBIER

MAGISTRATE SHUSHAN

CERTAIN UNDERWRITERS AT LLOYD’S, LONDON
AND VARIOUS INSURANCE COMPANIES’ (“UNDERWRITERS”)
SUR-REPLY OPPOSING BP’S MOTION FOR JUDGMENT ON THE PLEADINGS

PD.5462803.1

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INTRODUCTION AND SUMMARY OF THE ARGUMENT

BP’s Reply underscores its continued misplaced efforts to stretch the boundaries of
contract construction and common sense to manufacture coverage for its pollution-related
liabilities when no such coverage exists for BP under the Excess Policies. This makes even more
clear why its Motion for Judgment on the Pleadings should be denied.

First, BP ignores the plain language of the definition of an “Insured Contract” under the
Excess Policies.

Second, BP cannot reasonably dispute that under Texas law, a separate contract properly
may be incorporated into an insurance policy — which was the undisputed intent of Underwriters
and Transocean here. Instead, BP endeavors to confuse the issue by arguing that Underwriters
have no standing as third-party beneficiaries to argue the application of the Drilling Contract to
the Excess Policies.

Third, Texas law recognizes that a contract should not be construed against one party
where the other party is sophisticated, and that the degree of an insured’s sophistication should
be considered in disputes with insurers.

Fourth, BP continues to distort the holdings of Evanston and Aubris.

Fifth, BP’s “missing comma” interpretation is unsupported by Texas law and highlights

the desperation of BP’s argument for pollution-related coverage.

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ARGUMENT

I. BP ATTEMPTS TO REDEFINE ITS BURDEN AND CHOOSES TO IGNORE
THAT THE DRILLING CONTRACT IS NOT AN INSURED CONTRACT FOR
ALL PURPOSES.

Although BP incorrectly attempts to shift its burden to Underwriters, as an additional
insured BP bears the burden of proving its coverage under the Excess Policies. One Beacon Ins.
Co. v. Crowley Marine Services, Inc., 2011 WL 3195292 at *12 (Sth Cir.), citing Rep. Waste
Servs. v. Empire Indem. Ins. Co., 98 Fed. Appx. 970, 917 (Sth Cir. 2004). To meet its burden,
BP must establish that the Drilling Contract is an “Insured Contract” for pollution-related
liabilities under the Excess Policies. Accordingly, in assessing the scope of BP’s or any other
additional insured’s coverage, the Drilling Contract and the Excess Policies must be construed
together. Here, the Excess Policies specifically limit additional insured coverage as required by
and to the extent of the Drilling Contract. The Excess Policies define an “Insured Contract” as
one in which the Insured, Transocean, “assumes the tort liability of another party to pay for
‘Bodily Injury’, “Property Damage’, ‘Personal Injury’, or ‘Advertising Injury’ to a “Third Party’
or organization.”’ Transocean “assumed the tort liability” of BP only to the extent that the
Drilling Contract so provided. Because Transocean did not assume BP’s well pollution liabilities
under Article 24 of the Drilling Contract, the Drilling Contract is not an Insured Contract for
those pollution liabilities.2 BP’s expansive definition of an “Insured Contract” is simply wrong,
and BP fundamentally cannot meet its burden to establish coverage for its pollution-related

habilities.

' Decl. of C. Wenk, Ex. E at 37 of 99 (TRN-MDL-00235717). As with Underwriters’ principal brief, citations
to the Excess Policies are to the excerpts attached to BP’s Motion (doc. #3211-2).

* To the contrary, pursuant to Article 24.2, BP agreed to defend and indemnify Transocean for pollution

emanating from BP’s well or from any source below the surface of the water. See, Decl. of C. Wenk, Ex. C at
25 of 36 (TRN-MDL-0027340).

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Il. UNDERWRITERS DO NOT SEEK THIRD PARTY BENEFICIARY STATUS
UNDER THE DRILLING CONTRACT, AND BP’S ARGUMENTS TO THE
CONTRARY ARE MISPLACED.

BP cannot deny that Texas law recognizes that separate contracts may be incorporated by
reference into insurance contracts. See One Beacon, 2011 WL 3195292 at *8 (insurance and
indemnity provisions of contracts were incorporated by reference in terms of policy.); Urrutia v.
Decker, 992 S.W.2d 440, 442 (Tex. 1999) (a contract may be incorporated into an insurance
policy consistent with the intent of the parties). Instead, BP erroneously attempts to redefine
Underwriters’ claim for declaratory judgment as a third-party beneficiary claim. But this case is
not about whether Underwriters have third-party beneficiary rights under the Drilling Contract,
and Underwriters are not “claiming any rights as third-party beneficiaries”. (BP Reply at p. 19).
Nor are Underwriters attempting to enforce any provisions of the Drilling Contract.
Underwriters only seek a determination of their rights and obligations under the Excess Policies,
which unequivocally incorporate the Drilling Contract as an “Insured Contract,” as discussed
above. BP’s repeated protests that Underwriters lack standing as third-party beneficiaries are
just distractions from the weaknesses of BP’s other arguments over the real issues.

Further, BP disingenuously argues that Underwriters have agreed that BP’s motion for
judgment on the pleadings is ripe for consideration, and therefore, are judicially estopped from
arguing otherwise now. In her Order of May 31, 2011, Magistrate Judge Shushan observed that
“the Insurers oppose the setting of an early date for the filing of a motion for judgment on the
pleadings or, in the alternative, summary judgment on the Insurers’ complaints.” (doc. #2593 at
p. 1). Judge Shushan nevertheless held that BP could file its motion after pleadings closed, and
she ordered the parties to agree on a case management order. Underwriters never have waivered

in their position that BP cannot sustain its motion for judgment on the pleadings and that the

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instant motion is premature and a waste of the parties’ resources. BP’s suggestion otherwise is
misleading.
I. BPIS NOT ENTITLED TO A PRESUMPTION IN FAVOR OF COVERAGE.
BP’s assertion that the rule of construction in favor of an insured is independent of the
doctrine of contra proferentem, or the contra-insurer rule, also is incorrect.> For there to be a
possibility of an insured’s interpretation prevailing by virtue of that doctrine, the Court must first
find the disputed provision to be ambiguous. Puckett v. U.S. Fire Ins. Co., 678 S.W.2d 936, 938
(Tex. 1984); Evergreen Nat'l Indm. Co. v. Tan It All, Inc., 111 S.W.3d 669, 676-77 (Tex.App. —
Austin 2003); AT&T Corp. v. Rylander 2 S.W.3d 546, 560 (Tex.App. — Austin 1999). Indeed,
Texas law is clear that the contra-insurer rule is not a rule of construction, but rather “a tie-
breaking device used to prevent arbitrary decisions when all other methods of interpretation and
construction prove unsatisfactory.” Evergreen, 111 S.W.3d at 667. A contract will be
“construed against its drafter only as a last resort under Texas law —i.e., after application of
ordinary rules of construction leave reasonable doubt as to its interpretation.” Forest Oil Corp.
v. Strata Energy, 929 F.2d 1039, 1043-44 (Sth Cir. 1991) (emphasis added). Application of
construction against the drafter is not, as BP has suggested, an independent substantive Texas
rule of construction, but rather simply a “tie-breaker” in the event that all other doctrines of
construction are applied and an ambiguity is found to remain. In this case, the language of the
Excess Policies is clear and unambiguous; thus, there is no tie to be broken, and construction

against Underwriters is not appropriate.*

> Under Texas law and in the context of insurance disputes, the doctrine of contra proferentem has also been
referred to as the “ambiguity rule” or the “contra-insurer” rule. Evergreen Nat’l Indm. Co. v. Tan It All, Inc.,
111 S.W.3d 669, 677 (Tex.App.-Austin 1999) (citing Puckett v. U.S. Fire Ins. Co., S.W.2d 936, 939 (Tex.
1984) and Hanson v. Republic Ins. Co., 5 S.W.3d 324, 328 (Tex.App. ~ Houston 1999)).

“ BP did not plead ambiguity in response to Underwriters’ Complaint for Declaratory Judgment. Accordingly,
the contra-insurer rule should not even be an issue. Davis v. Huskipower Outdoor Equip. Corp., 936 F.2d 193,

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Even if an ambiguity was present, the application of the contra-insurer rule is only
appropriate in situations in which the insured had no opportunity to negotiate the terms of its
policy. “The rule arises because customers of insurance companies cannot negotiate the terms of
policies. ...” Puckett, 678 S.W.2d at 939 (concurrence). As Puckett explains, Texas courts
adopted the contra-insurer rule to protect insureds who lacked bargaining power and were
required to accept contracts of adhesion from insurers.

As discussed fully in Underwriters’ principal opposition brief (doc. #3705), the contra-
insurer rule is inapplicable because a review of the facts underlying the drafting of the Excess
Policies will reveal that the named Insured, Transocean, participated extensively in drafting and
selecting the terms of the Excess Policies. Although BP glosses over Vought Aircraft Industries,
Inc. v. Falvey Cargo Underwriting, Ltd., 729 F.Supp.2d 814 (N.D. Tex. 2010), BP at least
concedes that a Texas court has held that a sophisticated insured exception is at least applicable
where the facts warrant. Texas state courts also have recognized that the level of an insured’s
sophistication should be considered in disputes between an insured and its insurer. Bryce v.
Unitrin Preferred Ins. Co., 2010 WL 1253579 at *8 (Tex.App.-Austin). Where facts are relevant
to a controlling issue, judgment on the pleadings clearly is inappropriate. 5C Arthur Miller &

Mary Kay Kane, Federal Practice and Procedure § 1368 (3d ed. 2004).

Here, review of the facts certainly is warranted. The Texas district court’s observation in
Vought that insurance policies should not automatically be interpreted against an insurer “when
corporate insureds with bargaining power equal to the insurer participate in the drafting of the

insurance coverage” squarely applies to the Excess Policies. 729 F.Supp.2d at 823; See also

198 (Sth Cir. 1991) (state law defines affirmative defenses that are waived under federal law if not timely
pleaded). Under Texas law, ambiguity of contracts is an affirmative defense, which a party must specifically
plead. World Help v. Leisure Lifestyles, Inc., 977 S.W.2d 662, 680-81 (Tex.App.-Forth Worth 1998); Terrill v.
Tuckness, 985 S.W.2d 97, 101 (Tex.App.-San Antonio 1998).

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Houston Exploration Co. v. Wellington Underwriting Agencies, Ltd., --- S.W.3d ---, 2011 WL
3796361 *4 (Tex. Aug. 26, 2011). As the Texas Supreme Court has recently reiterated, the
manner in which an insurance policy is negotiated may be critical to understanding its terms and
the parties’ intent. Wellington, --- S.W.3d ---,2011 WL 3796361 at *4. Evidence “of
surrounding circumstances that inform, rather than vary from or contradict” an insurance policy
are admissible and have “relevance in ascertaining the dominant purpose and intent of the parties
embodied in the contract interpreted as a whole.” Jd. The Excess Policies are the products of
arms-length negotiations between sophisticated parties, an appreciation of which is critical to
understanding their terms, and Underwriters are entitled to develop these facts in discovery.

IV. THE DRILLING CONTRACT AND EXCESS POLICIES ARE

DISTINGUISHABLE FROM THE EVANSTON AND AUBRIS POLICIES AND
CONTRACTS.

BP fails to recognize, or simply ignores, that the additional insured provisions in the
Excess Policies are different than the additional insured provision in Evanston. The Evanston
decision concerned the meaning of a single phrase in the definition of an additional insured:
“with respect to operations performed by you or on your behalf.” Evanston Ins. Co. v. ATOFINA
Petrochem., Inc., 256 S.W.3d 660, 664-66 (Tex. 2008). The Evanston policy neither expressly
nor implicitly referenced a separate indemnity agreement, and there was no attempt to
incorporate the indemnity agreement into the Evanston policy. The sole coverage issue in
Evanston was whether the policy covered liabilities for the additional insured’s sole negligence.
Id. at 667-68. In such cases, it is entirely appropriate to determine the scope of coverage from
the insurance policy alone. In Evanston, it was clear that the claim against the additional insured
was “with respect to operations performed [by the insured].” Jd. at 664-66. But where the

insurance policy specifically refers to a separate contract, both the policy and that contract must

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be construed together. Unlike the Evanston policy, the General Conditions of the Excess
Policies specifically limit the scope of additional insureds as required by the Drilling Contract:
Underwriters agree where required by written contract, bid or
work order, additional insureds are automatically included

hereunder, and/or waivers of subrogation are provided as may be
required by contract.’

BP urges a selective reading of this general condition that focuses only on the
“automatically included” phrase. But such a construction would render the rest of the condition
— “as may be required by contract” — meaningless. This is an unacceptable construction under
Texas law, which requires that all parts of an insurance agreement be read and construed
together. Gilbert Tex. Constr. v. Underwriters’ at Lloyds London, 327 S.W.3d 118, 126 (Tex.
2010); Kelley-Coppedge, Inc. v. Highlands Ins. Co., 980 S.W.2d 462, 464 (Tex. 1998). When
the Excess Policies are read as a whole, it is undeniable that the scope of BP’s additional insured
coverage 1s limited to what is “required by written contract”, which was the clear intent of
Underwriters and Transocean in executing the Excess Policies.

Though BP fails to so acknowledge, the court in Aubris did consider the interplay
between the pertinent services agreement and the insurance policy, but concluded that the
indemnity provisions were not incorporated into the policy. After considering both the policy
and the services agreement, the Awbris court construed the policy to require a specific agreement
for indemnity on a particular claim. See Aubris Resources, LP v. St. Paul Fire & Marine Ins.
Co., 566 F.3d 483 (Sth Cir. 2009), generally.

Limiting an additional insured’s coverage to the extent of the risks within an indemnity
agreement is not a novel concept. It is widely recognized and traditional in the marine, energy

and insurance industries that a contractor, like Transocean, reasonably requires “that insurance

> Decl. of C. Wenk, Exhibit E at 74 of 99 (TRN-MDL-00235754)(Endorsement 1, Condition 4 of the Excess
Policies) (emphasis added).

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coverage will be provided only to ‘the extent of the indemnity obligations undertaken by the
Contractor’. This prevents the contractor’s insurance program from being overtaxed from a loss
it [or its insurers] had not bargained for.”

V. BP’S INTERPRETATION OF THE “ADDITIONAL INSURED” PROVISION OF
THE DRILLING CONTRACT IS NOT SUPPORTED BY TEXAS LAW.

BP suggests that Exhibit C of the Drilling Contract, which sets forth the relevant
insurance requirements, has been misleadingly quoted. Underwriters quoted Exhibit C in their
principal memorandum, and repeat it below:

[BP] its subsidiaries and affiliated companies, co-owners, and joint
venturers, if any, and their employees, officers and agents shall be
named as additional insured in each of [Transocean’s] policies,

except Worker’s Compensation for liabilities assumed by
[Transocean] under the terms of this Contract.’

Relying on a “missing comma” argument, BP suggests that the insurance provision
restricts Transocean’s duty to obtain additional insured coverage to Worker’s Compensation
coverage only and that the exception to Transocean’s duty to obtain additional insured coverage
is not restricted to “general” liabilities assumed by Transocean under the terms of the Drilling
Contract. Therefore, and despite a plain reading of the provision, BP suggests that a supposed
error in punctuation supports its position that Transocean intended to obtain insurance in favor of
BP for all liabilities except Worker’s Compensation. BP’s interpretation fails for two reasons.

First, under Texas law, punctuation does not control the interpretation of a contract. “The
words, not the punctuation, are the controlling guide in construing a contract. If the meaning of

the words is clear, the court will interpret a contract according to their meaning and without

° Harold J. Flanagan & Stephen M. Pesce, How Master Service Agreements and Risk Allocation Provisions
Work, Rocky Mountain Mineral Law Foundation, Oil & Gas Agreements: The Exploration Phase (March
2010).

’ Decl. of C. Wenk, Ex. C at 2 of 3 (TRN-MDL-0027435) (Exhibit C to the Drilling Contact).

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regard to the punctuation marks or the want of them.” Anderson & Kerr Drilling Co. v.
Bruhlmeyer, 136 S.W.2d 800, 803 (Tex. 1940) (finding the absence of a comma in a deed did not
create ambiguity or uncertainty and the court “may insert a comma, in order to ascertain form the
words used the intention of the parties.”). See also Arnold v. Ashbel Smith Land Co., 307
S.W.2d 818, 823-4 (Tex.Civ.App. 1957) (holding when a disputed provision was read as a
whole, in conjunction with other portions of the contract, the absence of a comma did not create
an ambiguity, though the court could insert a comma if necessary to ascertain the intent of the
parties.). Here, the parties’ intent to limit Transocean’s insurance obligations to liabilities
assumed under the Drilling Contract is clear from the words themselves, which control
interpretation. [fa comma after the phrase “Workers’ Compensation” were required to ascertain
the intent of the parties, it could be added. However, the phrase, when read in conjunction with
the whole of the relevant insurance provision, is clear and unambiguous in limiting Transocean’s
obligation to obtain insurance for the liabilities it agreed to assume in the Drilling Contract.
Second, if BP’s reading were correct, the multiple pages in the Drilling Contract (and
subsequent Amendment 38) setting forth the various indemnity obligations and risks allocated
between Transocean and BP would be pointless because they would be undone by a single
phrase in Exhibit C of the Drilling Contract. BP knows better. The additional insured status in

the Excess Policies is limited to the extent required by the Drilling Contract.

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CONCLUSION

BP should not be permitted to re-write or misinterpret the Excess Policies to construct

coverage for its pollution-related liabilities where its coverage is clearly limited to the extent

required by the Drilling Contract with Transocean. For these reasons as well those in

Underwriters’ principal memorandum (doc. #3705), BP’s motion for judgment on the pleadings

must be denied.

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Respectfully submitted,

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CERTIFICATE OF SERVICE

I hereby certify that the above and foregoing has been served on All Counsel by
electronically uploading the same to Lexis Nexis File & Serve in accordance with Pretrial Order
No. 12 which will send a notice of electronic filing in accordance with the procedures established
in MDL 2179, on this 13th day of September, 2011.

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